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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


CLARENCE DEES,                     )
                                   )
     Plaintiff,                    )
                                   )         CIVIL ACTION NO.
     v.                            )           2:17cv535-MHT
                                   )                (WO)
KARLA JONES, Warden,               )
et al.,                            )
                                   )
     Defendants.                   )

                              JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) Plaintiff’s        objections       (doc.     no.    69)       are

overruled.

    (2) The       United        States       Magistrate        Judge’s

recommendation (doc. no. 65) is adopted.

    (3) Defendants' motions for summary judgment (doc.

no. 16, 18, 29, 34) are granted.

    (4) Judgment is entered in favor of defendants and

against plaintiff, with plaintiff taking nothing by his
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complaint.

    It is further ORDERED that costs are taxed against

plaintiff, for which execution may issue.

    The clerk of the court is DIRECTED to enter this

document   on    the   civil      docket   as   a   final     judgment

pursuant   to   Rule    58   of    the   Federal    Rules    of   Civil

Procedure.

    This case is closed.

    DONE, this the 19th day of October, 2020.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
